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                                                                                                                                                                                                   UNITED STATES DISTRICT COURT
                                                                                                                                                                                                    DISTRICT OF MASSACHUSETTS

                                                                                                                                                                                                                CIVIL ACTION NO. 13-11390-RGS

                                                                                                                                                                                                                                                    CHERYL LAPAN

                                                                                                                                                                                                                                                          v.

                                                                                                                                                                                                                    DICK’S SPORTING GOODS, INC.

                                                     MEMORANDUM AND ORDER ON PLAINTIFFS’ MOTION FOR
                                                      CONDITIONAL CLASS CERTIFICATION AND NOTICE AND
                                                       DEFENDANT’S MOTIONS FOR SUMMARY JUDGMENT

                                                                                                                                                                                                                                                    August 20, 2014

STEARNS, J.

                                                           This is a Fair Labor Standards Act (FLSA), 29 U.S.C. §§ 201-219, case

in which plaintiffs Cheryl Lapan and Michelle Shutt1 allege that they, and

all other “Assistant Store Managers” (ASMs) employed by defendant Dick’s

Sporting Goods, Inc. (DSG), have been, and continue to be, improperly

classified as exempt employees by DSG, which failed to pay them for all

hours worked and failed to pay overtime.2 The court heard a spirited oral


	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
       A third original named plaintiff, Victoria Montanez, was dismissed
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from the case, and her claims are no longer at issue. Six other individuals
have since ‘opted-in’ with consents to sue and have filed affidavits along
with plaintiffs’ motion.

       Plaintiff Michelle Shutt also brought Massachusetts State law claims
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under Mass. Gen. Laws ch. 149 §§ 148 and 150, and Mass. Gen. Laws ch. 151
§§ 1A and 1B. LaPan originally plead State claims as well, but has since
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argument on June 2, 2014, in which experienced counsel focused on the

propriety of conditionally certifying a nationwide class of ASMs.

                                                          After careful consideration, the court sees no reason to blaze new

trails or to revisit the two-tier approach laid out by Judge Young in

Trezvant v. Fid. Empl. Servs. Corp., 434 F. Supp. 2d 40 (D. Mass. 2006).

Judge Young explained that, in taking this two-tier approach, “the court

makes an initial determination of whether the potential class should receive

notice of the pending action and then later, after discovery is complete, the

court makes a final ‘similarly situated’ determination.” Id. at 42, citing

Kane v. Gage Merch. Servs., Inc., 138 F. Supp. 2d 212, 214 (D. Mass. 2001)

(Gorton, J.). This is in contrast to an approach that applies the standards

of Fed. R. Civ. P. 23 (numerosity, commonality, typicality, and adequacy of

representation) when determining whether to order notice to a potential

class. As Judge Young noted, his recommended course of proceeding was

the one then preferred by a majority of federal courts.                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  It has further

support in this district, see O'Donnell v. Robert Half Int’l, Inc., 429 F. Supp.

2d 246 (D. Mass. 2006) (Gorton, J.), and outside, see Myers v. Hertz Corp.,

624 F.3d 537, 554-555 (2d Cir. 2010). Consequently, the court will ALLOW


	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
conceded that the statute of limitations (she did not work at DSG within the
past two years) bars her from going forward on these claims.

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plaintiffs’ motion for conditional class certification. The court directs the

parties to file a joint proposal (to the extent agreement is possible) by

September 3, 2014, for a form and mechanism of notice to putative class

members and a procedure for adopting those who timely elect to opt-in.


       Defendant’s motions for summary judgment are DENIED without

prejudice as premature. Plaintiffs’ motion to strike is DENIED as moot.


                                   SO ORDERED.

                                   /s/ Richard G. Stearns
                                   UNITED STATES DISTRICT JUDGE




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